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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                                                )
  AMERICAN CIVIL LIBERTIES UNION                )
  and AMERICAN CIVIL LIBERTIES                  )
  UNION FOUNDATION,                             )
                                                )
                 Plaintiffs,                    ) Case No. 1:16-cv-01256 (EGS)
                                                )
         v.                                     )
                                                )
  CENTRAL INTELLIGENCE AGENCY et                )
  al.,                                          )
                                                )
                 Defendants.                    )
                                                )

                               [PROPOSED] ORDER

       The Court, having reviewed Defendants’ Consent Motion to Extend the Deadline

to Repond to Plaintifffs’ Motion for Attorney’s Fee’s and Costs, hereby GRANTS the

motion for good cause shown. It is hereby

       ORDERED that Defendants shall file their Opposition to Plaintiffs’ Motion on or

before May 9, 2022.

       IT IS SO ORDERED.

                                                  _______________________
                                                  Hon. Emmet G. Sullivan
                                                  United States District Judge
Date: ____________




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